Case 5:18-cr-00231-JGB Document 181 Filed 12/15/21 Page1lofi Page ID#:1451
NAME & ADDRESS:

 

CLERK, U.S. STRICT COURT

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CENTRAL DISTRICT OF CALIFORNIA
EASTERN DIVISION, BY BY DEPUTY DIVISION) 2 YS

 

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA CASE NUMBER:
EDCR18-00231-JGB

 

 

PLAINTIFF(S)
We
RECEIPT FOR RELEASE OF EXHIBITS
JOHN JACOB OLIVAS TO COUNSEL UPON
DEFENDANT(S) VERDICT / JUDGMENT AT TRIAL /

AFTER HEARING

 

 

Pursuant to stipulation of counsel in this action and/or by Order of this Court, all exhibits listed on the
aiet exhibit list are hereby being returned to counsel for the respective party(ies) except the
following exhibit(s)

The undersigned counsel hereby declare that these exhibits shall be retained in counsel's custody in a secure
place; not be altered; and will not be destroyed until after the time for an appeal of the verdict or judgment
has expired or until such time as all pending appeal(s) have been completed and decision(s) rendered.
Counsel further agree that such exhibits shall be returned to this Court upon request by the Court and
within seventy-two (72) hours notice thereof.

 

 

 

 

 

 

 

 

 

iP/i9f2| Elk A. Aleawe
Date Counsel for: Plaintiff ODefendant O
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CF OIO*~— 213-488-9995
Signature a Telephone Number
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Date Counsel for: LPlaintiff (®Defgndant O
Hi Vy ON li Bch. 2lo AKO]
Signatute 7 — Telephone Number

I hereby certify that the above-mentioned exhibits where returned to counsel as indicated above this date.

Clerk, U.S. District Court

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Date Deputy Clerk —_

 

 

G-38 (08/16) | RECEIPT FOR RELEASE OF EXHIBITS TO COUNSEL UPON VERDICT JUDGMENT AT TRIAL / AFTER HEARING
